                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA     )                                                           .
                             )                            No.    3:25-CR-00115
     v.                      )
                             )
KILMAR ARMANDO ABREGO GARCIA )

                                  JOINT PROTECTIVE ORDER

        The United States’ Motion for a Protective Order (Doc. No. 68) is GRANTED.

        It is hereby ORDERED that the defendant shall have access through his criminal defense

team 1 to all discovery material subject to further orders of this Court, but that copies of the any

and all discovery materials in this case shall not be provided to the defendant for his retention,

excepting the defendant’s own statements and communications and the contents of any of his

electronic devices or accounts. The defense team shall also be permitted to disclose discovery

material to any person whose testimony was or will be taken in this action, provided that the

material is disclosed only in preparation for, during, or in review of the person’s testimony, and

the person shall not retain discovery material after his or her testimony has concluded.

        It is hereby ORDERED that if the defendant makes contemporaneous notes during his

review of discovery materials, those notes shall not be retained by the defendant but shall be

maintained by his defense team in their possession for his continued use.




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  This Order defines the defendant’s criminal defense team as the attorneys who are listed as counsel of
record for the defendant in Case Number 3:25-cr-00115, their respective law firms, and experts and/or
investigators retained by the defendant in defense of the criminal case. This Order applies equally to any
member of the defense law firms even if they are not counsel of record in this case.
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        It is hereby ORDERED that further dissemination of any discovery materials to any

person, organization, or entity outside the defendant and the criminal defense team in this case

(i.e., the general public, members of the media, other attorneys, etc.) is prohibited. Any filing of

discovery materials must be done under seal pending further orders of this Court. The proper names

of any civilian, non-law enforcement, individuals described in the Government’s discovery shall

not be used in public filings absent specific orders of the Court but can be identified by initials

with care taken not to identify the individual by other context including, but not limited to, a

description of where they live, their relationship to other witnesses, or other specific characteristics

of that individual that could allow a reader to readily identify that individual.

        Nothing in this Order prevents defense counsel from reviewing these materials with the

defendant.

        Nothing in this Order prevents the defendant from using any of his own private documents.

        Nothing in this Order precludes any party from referring to discovery materials in public

filings subject to the constraints described above.

        IT IS SO ORDERED.

                                                        ______________________________
                                                        WAVERLY D. CRENSHAW, JR.
                                                        United States District Judge




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